 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.1 Filed 09/03/21 Page 1 of 27




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

LARRY SMITH,                  )
                              )
              Plaintiff,      )
                              )
    v.                        )                     No.
                              )
COUNTY OF WAYNE,              )                     Demand For Jury Trial
ROBERT J. DONALDSON,          )
MONICA CHILDS, GENE KARVONEN, )
ROGER MUELLER, WALTER LOVE,   )
KEITH CHISHOLM, and           )
JOHN DEMBINSKI,               )
                              )
              Defendants.     )

                                  COMPLAINT

      Plaintiff, Larry Smith, by and through counsel, the Law Office of Jarrett

Adams PLLC, complains against Defendants, County of Wayne, Robert J.

Donaldson, Monica Childs, Gene Karvonen, Roger Mueller, Walter Love, Keith

Chisholm, and John Dembinski as follows:

                                INTRODUCTION

      1.     This is a federal civil rights action to obtain compensatory damages,

punitive damages, costs and attorneys’ fees for the unlawful detention of, use of

fabricated evidence against, malicious prosecution of, and abuse of process against

Larry Smith, resulting in Mr. Smith being held in custody in violation of his

constitutional rights for almost twenty-seven years. This action also seeks


                                          1
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.2 Filed 09/03/21 Page 2 of 27




injunctive and equitable relief against the County of Wayne to reform the

unconstitutional policy and/or custom that was the moving force behind the

constitutional rights violations suffered by Mr. Smith.

                                  JURISDICTION

      2.     This action is brought under 42 U.S.C. § 1983 to address the

deprivation under color of law of Larry Smith’s rights as secured by the United

States Constitution and under state law.

      3.     The Court has jurisdiction over Larry Smith’s federal claims pursuant

to 28 U.S.C. §§ 1331 and 1343, and has supplemental jurisdiction over Mr.

Smith’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     Venue is proper under 28 U.S.C. § 1391(b) because the Eastern

District of Michigan is the judicial district where the constitutional rights violations

suffered by Larry Smith occurred.

                                      PARTIES

      5.     Plaintiff, Larry Smith is a citizen of the United States of America who

at all relevant times resided in Michigan.

      6.     Defendant, County of Wayne (“Defendant County”), is a body

corporate under Article VII, Section 1 of the Michigan Constitution. At all relevant

times, Defendant County was the principal and employer of Defendant, Robert J.

Donaldson who acted pursuant to Defendant County’s policies and customs.


                                             2
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.3 Filed 09/03/21 Page 3 of 27




      7.    Defendant, Robert J. Donaldson (“Defendant Donaldson”), at all

relevant times, was an adult resident of the State of Michigan and was an assistant

prosecuting attorney for the Wayne County Prosecutor’s Office (“WCPO”), which

is a department of Defendant County.

      8.    Defendant, Monica Childs (“Defendant Childs”), at all relevant times,

was an adult resident of the State of Michigan and was a Detroit Police Department

(“DPD”) detective.

      9.    Defendant, Gene Karvonen (“Defendant Karvonen”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police officer.

      10.   Defendant, Roger Mueller (“Defendant Mueller”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police officer.

      11.   Defendant, Walter Love (“Defendant Love”), at all relevant times,

was an adult resident of the State of Michigan and was a DPD police officer.

      12.   Defendant, Keith Chisholm (“Defendant Chisholm”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police officer.

      13.   Defendant, John Dembinski (“Defendant Dembinski”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police officer.




                                         3
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.4 Filed 09/03/21 Page 4 of 27




                                     FACTS

Facts Pertaining to the Unlawful Detention of, the Use of Fabricated Evidence
       against, the Malicious Prosecution of, and the Abuse of Process
                            against Larry Smith

      14.    On March 24, 1994, Kenneth Hayes (“Hayes”) was fatally shot in the

City of Detroit.

      15.    Larry Smith did not shoot Hayes.

      16.    There was no reason to suspect or believe that Larry Smith shot

Hayes.

      17.    The same day as the shooting of Hayes, Larry Smith turned himself in

to the DPD after learning that the DPD were looking for him in connection with

the shooting of Hayes.

      18.    Defendant Childs interviewed Larry Smith regarding the shooting of

Hayes.

      19.    After the interview of Larry Smith, Defendant Childs prepared written

notes of the interview.

      20.    In her notes of the interview, Defendant Childs claimed that when she

lied to Larry Smith and told him that witnesses to the shooting of Hayes saw his

face and could identify him, Mr. Smith responded that no one could have seen his

face because he had a hood on when the shooting happened.




                                         4
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.5 Filed 09/03/21 Page 5 of 27




        21.   In her notes of the interview, Defendant Childs claimed that Larry

Smith’s statement about having a hood on was incriminating.

        22.   On March 25, 1994, Larry Smith was charged with first-degree

murder and possession of a firearm in the commission of a felony for the shooting

of Hayes.

        23.   Larry Smith was detained pursuant to legal process on March 27,

1994.

        24.   Between Larry Smith’s detention in March 1994 and his trial in

November 1994, Defendant Donaldson asked Defendant Childs numerous times

for her notes of the interview because they were not in Mr. Smith’s criminal case

file.

        25.   Defendant Childs finally produced the notes of the interview to

Defendant Donaldson in August 1994, claiming to have found the notes of the

interview in a different criminal case file.

        26.   Defendant Childs’ notes of the interview were used against Larry

Smith during his trial for the shooting of Hayes.

        27.   Defendant Childs never showed Larry Smith her notes of the

interview.

        28.   Larry Smith never told Defendant Childs that he had a hood on at the

time of the shooting of Hayes.


                                           5
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.6 Filed 09/03/21 Page 6 of 27




      29.    Defendant Karvonen, Defendant Mueller, and/or Defendant Love

claimed to find seven spent shell casings from a .40 caliber weapon in the area

where Hayes was shot.

      30.    The same day as the shooting of Hayes, the DPD conducted a search

of the home where Larry Smith resided.

      31.    During the search, Defendant Dembinski claimed to find an empty

box of .40 caliber bullets.

      32.    During the search, Defendant Chisholm claimed to find one spent .40

caliber shell casing in an empty clothes hamper in Larry Smith’s bedroom.

      33.    Defendant Chisholm took the spent .40 caliber shell casing from the

clothes hamper and placed it in his pocket.

      34.    Keeping the spent .40 caliber shell casing in his pocket, Defendant

Chisholm went to the DPD evidence room and put the casing in an envelope

without placing an identifying mark on the casing.

      35.    The one spent .40 caliber shell casing allegedly found by Defendant

Chisholm was kept separately in the DPD evidence room from the seven spent .40

caliber shell casings allegedly found in the area where Hayes was shot.

      36.    Prior to the trial of Larry Smith, the DPD removed the one spent .40

caliber shell casing allegedly found by Defendant Chisholm from the DPD

evidence room and returned it several days later.


                                         6
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.7 Filed 09/03/21 Page 7 of 27




      37.    DPD did not remove any of the seven spent .40 caliber shell casings

allegedly found in the area where Hayes was shot from the DPD evidence room.

      38.    Larry Smith did not have any spent .40 caliber shell casings in his

bedroom or anywhere in his residence.

      39.    Larry Smith did not have an empty box of .40 caliber bullets in his

bedroom or anywhere in his residence.

      40.    The trial of Larry Smith for the shooting of Hayes began on

November 22, 1994.

      41.    At the trial of Larry Smith, Defendant Karvonen and Defendant

Mueller falsely testified that they found spent .40 caliber shell casings in the area

where Hayes was shot.

      42.    The spent .40 caliber shell casings allegedly found by Defendant

Karvonen, Defendant Mueller, and/or Defendant Love were used against Larry

Smith during his trial.

      43.    The report created by Defendant Mueller about allegedly finding the

spent .40 caliber shell casings was used against Larry Smith during his trial.

      44.    At the trial of Larry Smith, Defendant Chisholm falsely testified that

he found one spent .40 caliber shell casing in an empty clothes hamper in Mr.

Smith’s bedroom.




                                           7
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.8 Filed 09/03/21 Page 8 of 27




      45.      The one spent .40 caliber shell casing allegedly found by Defendant

Chisholm was used against Larry Smith during his trial.

      46.      At the trial of Larry Smith, Defendant Dembinski falsely testified that

he found an empty box of .40 caliber bullets in Mr. Smith’s bedroom.

      47.      The empty box of .40 caliber bullets allegedly found by Defendant

Dembinski was used against Larry Smith during his trial.

      48.      The bullets recovered from Hayes’s body after the shooting were .32

caliber and could not have been fired from a .40 caliber weapon.

      49.      Edward Chico Allen (“Allen”) was in the DPD jail at the same time as

Larry Smith.

      50.      Allen was awaiting trial on charges of armed robbery for which he

faced a possible sentence of life in prison.

      51.      Defendant Donaldson and/or Defendant Childs promised Allen

leniency in his criminal case if he falsely testified that Larry Smith bragged about

shooting Hayes.

      52.      Defendant Donaldson and/or Defendant Childs promised Allen

housing at the DPD lock-up instead of the jail if he falsely testified that Larry

Smith bragged about shooting Hayes.

      53.      While housed at the DPD lock-up, Allen was able to have outside

visitors bring him food and drugs.


                                           8
 Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.9 Filed 09/03/21 Page 9 of 27




      54.    While housed at the DPD lock-up, Allen was able to have guests

brought to the witness rooms to have sex.

      55.    At the trial of Larry Smith, Allen falsely testified that Mr. Smith had

confessed to shooting Hayes.

      56.    At no time did Larry Smith tell Allen that he shot Hayes.

      57.    On November 25, 1994, Larry Smith was convicted of first-degree

murder and possession of a firearm in the commission of a felony.

      58.    After Allen falsely testified against Larry Smith, Defendant Childs

and Allen had a sexual relationship.

      59.    Defendant Childs would remove Allen from the DPD lock-up under

the pretext of police business and then take Allen to a hotel to have sex.

      60.    On December 22, 1994, Larry Smith was sentenced to life in prison

without the possibility of parole.

      61.    In 2003, Allen admitted to Larry Smith that he lied during the trial

when he testified that Mr. Smith confessed to shooting Hayes.

      62.    When the significant error rates by the DPD Crime Laboratory

became public knowledge in 2008 after an audit by the Michigan State Police

(“MSP”), Larry Smith requested that the ballistics evidence from the Hayes

shooting case be re-tested by the MSP.




                                          9
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.10 Filed 09/03/21 Page 10 of 27




      63.    The MSP’s review of the ballistics evidence determined that the one

spent .40 caliber shell casing allegedly found in Larry Smith’s bedroom had been

destroyed, while the seven spent .40 caliber shell casings allegedly found in the

area where Hayes had been fatally shot had not been destroyed.

      64.    After recognizing that Larry Smith’s criminal trial was unfair, the

WCPO agreed that Mr. Smith’s convictions should be vacated and that all charges

against Mr. Smith should be dismissed.

      65.    On February 4, 2021, the Third Judicial Circuit Court of Michigan

terminated the criminal proceedings against Larry Smith in his favor by vacating

his convictions, dismissing all charges against him, and ordering that he

immediately be released from prison.

      66.    Larry Smith was released from prison on February 4, 2021.

      67.    Larry Smith was in custody from March 24, 1994 to February 4, 2021.

      68.    The conduct of Defendant Donaldson, Defendant Childs, Defendant

Karvonen, Defendant Mueller, Defendant Love, Defendant Chisholm, and

Defendant Dembinski, as set forth in the preceding paragraphs, resulted in

damages and injuries to Larry Smith, including but not limited to loss of liberty,

physical injury and sickness, and severe emotional pain and suffering.

      69.    The conduct of Defendant Donaldson, Defendant Childs, Defendant

Karvonen, Defendant Mueller, Defendant Love, Defendant Chisholm, and


                                         10
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.11 Filed 09/03/21 Page 11 of 27




Defendant Dembinski, as set forth in the preceding paragraphs, was a proximate

cause of Larry Smith’s damages and injuries.

      70.     The conduct of Defendant Donaldson, Defendant Childs, Defendant

Karvonen, Defendant Mueller, Defendant Love, Defendant Chisholm, and

Defendant Dembinski, as set forth in the preceding paragraphs, was objectively

unreasonable, intentional, purposeful, knowing, willful, wanton, and/or reckless,

and was undertaken with malice and/or reckless disregard of Larry Smith’s

constitutional rights.

   Facts Pertaining to Defendant County’s Unconstitutional Policy and/or
   Custom of the WCPO Obtaining False Statements and False Testimony
                    for Use Against Criminal Defendants

      71.     The policymakers for Defendant County and the WCPO are the

Wayne County Executive, the Wayne County Commission, and/or the Wayne

County Prosecutor.

      72.     As will be set forth below, Defendant County had/has a policy of the

WCPO obtaining false statements and false testimony for use against criminal

defendants.

      73.     As will be set forth below, Defendant County had/has a custom of

tolerance and/or acquiescence of the WCPO obtaining false statements and false

testimony for use against criminal defendants.




                                         11
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.12 Filed 09/03/21 Page 12 of 27




      74.    Defendant County’s policymakers were/are aware of the policy and/or

custom of the WCPO obtaining false statements and false testimony for use against

criminal defendants prior to and after the constitutional violations suffered by

Larry Smith, but have failed to take action to remedy the problem.

      75.    Defendant County, the WCPO and the DPD had/have a pattern and

practice where prisoner informants were/are planted in the DPD police station

lock-up to lie by claiming that their fellow prisoners confessed to crimes.

      76.    Defendant County, the WCPO and the DPD have used these

fabricated confessions against criminal defendants to bolster weak cases, such as

the case against Larry Smith.

      77.    Defendant County, the WCPO, and the DPD have used these

fabricated confessions to obtain criminal convictions in cases where the conviction

could not have been obtained without the fabricated confessions, such as the case

against Larry Smith.

      78.    Defendant County, the WCPO, and the DPD did not use these

fabricated confessions for the purpose of bringing criminal offenders to justice, but

instead to obtain criminal convictions regardless of innocence, such as the case

against Larry Smith.

      79.    The prisoner informants falsely testified to the fabricated confessions

at the criminal trials of their fellow prisoners.


                                            12
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.13 Filed 09/03/21 Page 13 of 27




      80.    Defendant County, the WCPO, and/or the DPD provided favors

and/or lenient treatment to the prisoner informants in exchange for the informants

fabricating confessions from their fellow prisoners and/or for falsely testifying to

the fabricated confessions.

      81.    Prisoner informants housed at the DPD police station lock-up received

favors not available at the jail or to non-informants at the lock-up in exchange for

the informants’ false statements and/or false testimony.

      82.    Prisoner informants have been able to have outside visitors bring them

food and drugs.

      83.    Prisoner informants have been able to invite guests to the DPD police

station for sex.

      84.    For example, Allen is a long-time provider of false statements and

testimony for Defendant County, the WCPO, and/or the DPD, both before and

after he made false statements about and falsely testified against Larry Smith.

      85.    Defendant County, the WCPO, and/or the DPD provided Allen with

immunity from prosecution, sexual favours, drugs, food, and/or money in

exchange for Allen’s false statements and false testimony.

      86.    Besides the case against Larry Smith, Allen provided false statements

and false testimony in numerous other murder cases for Defendant County, the

WCPO, and/or the DPD.


                                          13
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.14 Filed 09/03/21 Page 14 of 27




       87.    Allen was shown police reports so that he could falsely state and

testify that his fellow prisoners confessed to the information contained in the police

reports.

       88.    Another example of prisoner informants to whom Defendant County,

the WCPO, and/or the DPD gave leniency in exchange for fabricated prisoner

confessions is Joe Twilley (“Twilley”).

       89.    Twilley acted as a prisoner informant providing false statements

and/or false testimony in approximately 20 homicide cases.

       90.    In exchange for acting as a prisoner informant, Defendant County, the

WCPO, and the DPD agreed that Twilley’s criminal sentence of 12-25 years

should be reduced to less than five years and that Twilley be released from

custody.

       91.    On July 27, 1994, the Recorders Court for the County of Wayne held

an in camera hearing regarding Twilley acting as an informant for Defendant

County, the WCPO, and/or the DPD.

       92.    Rosemary Gordon (“Gordon”) appeared for the WCPO at the hearing.

       93.    Ms. Gordon agreed that the hearing should be a suppressed hearing.

       94.    During the hearing, DPD Sergeant Dale Collins testified that Twilley

had testified in at least 20 cases.




                                          14
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.15 Filed 09/03/21 Page 15 of 27




      95.    During the hearing, Gordon stated that Twilley had been extremely

helpful to WCPO prosecutor Thomas Beadle (“Beadle”) in an arson/homicide case.

      96.    During the hearing, Gordon stated that Beadle supported

consideration for Twilley.

      97.    During the hearing, Gordon stated that she learned from other people

who worked for the WCPO that Twilley had come to court to testify on numerous

occasions.

      98.    On July 29, 1994, the Recorders Court for Defendant County held a

sentencing hearing for Twilley.

      99.    Michael J. King (“King”) appeared for the WCPO at the hearing.

      100. During the hearing, the Court re-sentenced Twilley to less than five

years and ordered his immediate release so that he did not have to return to prison.

      101. King did not object to Twilley’s re-sentencing and his release from

prison.

      102. Another example of prisoner informants to whom Defendant County,

the WCPO, and/or the DPD gave leniency in exchange for prisoner confessions is

John Davis, also known as John Hewitt-El (“Hewitt-El”).

      103. Hewitt-El falsely testified in four murder cases prosecuted by

Defendant County, the WCPO, and the DPD.




                                         15
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.16 Filed 09/03/21 Page 16 of 27




      104. In 1995, Robert Agacinski (“Agacinski”) was the Deputy Chief

Assistant Prosecutor for the WCPO.

      105. In 1995, several attorneys for criminal defendants expressed concerns

to Agacinski about the practice of placing prisoner informants in the DPD jail to

obtain confessions from their fellow prisoners.

      106. In response to the concerns expressed by the attorneys, Agacinski

wrote a memorandum to WCPO Chief of Operations Richard Padzieski

(“Padzieski”) where Agacinski stated that he had been told that prison informants

lie about overhearing confessions and/or fabricate confessions to receive the

favours promised to them.

      107. In addition to Twilley and Davis, Agacinski’s memo identified

Solomon Tolbert and Oliver Cowan who acted as prisoner informants.

      108. In response to Agacinski’s memorandum, WCPO Chief of Research,

Training, and Appeals Timothy A. Baughman (“Baughman”) also wrote a

memorandum to Padzieski.

      109. In his memorandum, Baughman noted that prisoner informants

frequently provide false testimony of other prisoners’ confessions to obtain

compensation for their testimony.

      110. Numerous individuals have been wrongfully convicted as a result of

Defendant County’s widespread policy and/or custom of the WCPO obtaining


                                         16
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.17 Filed 09/03/21 Page 17 of 27




false statements and false testimony for use against criminal defendants, including

but not limited to the examples set forth below.

         111. Bernard Howard was wrongfully convicted of murder based upon a

prisoner informant’s false statement that Mr. Howard’s co-defendants had

implicated Mr. Howard in the crime.

         112. Ramon Ward was wrongfully convicted of murder based upon the

false testimony from two prisoner informants that Mr. Ward had confessed to the

crime.

         113. Lacino Hamilton was wrongfully convicted of murder based upon the

false testimony from a prisoner informant that Mr. Hamilton had confessed to the

crime.

         114. Defendant County’s policy and/or custom of the WCPO obtaining

false statements and false testimony for use against criminal defendants was and/or

is so widespread that 27 wrongfully-convicted individuals who spent a total of 415

years wrongfully imprisoned have been exonerated since 2018.

         115. In 2020, a total of 120 wrongfully-convicted individuals were

exonerated in the entire United States of America.

         116. Defendant County and its policymakers had/have actual knowledge of

the policy and/or custom of the WCPO obtaining false statements and false




                                          17
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.18 Filed 09/03/21 Page 18 of 27




testimony for use against criminal defendants, yet have taken no action to remedy

the problems.

      117. Defendant County and its policymakers approved the policy and/or

custom of the WCPO obtaining false statements and false testimony for use against

criminal defendants, and were deliberately indifferent to the resulting

constitutional violations including, but not limited to, unlawful detentions pursuant

to legal process, the use of fabricated evidence at criminal trials, and malicious

prosecutions.

      118. Defendant County and its policymakers disregarded the known and

obvious consequence of the constitutional violations that resulted from the policy

and/or custom of the WCPO obtaining false statements and false testimony for use

against criminal defendants.

      119. Defendant County’s policy and/or custom of the WCPO obtaining

false statements and false testimony for use against criminal defendants was a

proximate cause of Larry Smith’s damages and injuries.

      120. Defendant County’s policy and/or custom of the WCPO obtaining

false statements and false testimony for use against criminal defendants may

continue to this day.




                                          18
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.19 Filed 09/03/21 Page 19 of 27




                              CAUSES OF ACTION

 COUNT I: 42 U.S.C. § 1983 – Unlawful Detention Pursuant to Legal Process
   Against Defendant Donaldson, Defendant Childs, Defendant Karvonen,
         Defendant Mueller, Defendant Love, Defendant Chisholm,
                        and Defendant Dembinski

      121. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      122. Larry Smith was detained pursuant to legal process based upon

evidence fabricated by the above-named individual Defendants.

      123. There was neither probable cause nor reasonable suspicion to detain

Larry Smith.

      124. The above-named individual Defendants acted under of color of law.

      125. The unlawful detention of Larry Smith resulted in damages and

injuries to Mr. Smith.

      126. The unlawful detention of Larry Smith was undertaken pursuant to

Defendant County’s policy and/or custom of the WCPO obtaining false statements

and false testimony for use against criminal defendants, as set forth above.

    COUNT II: 42 U.S.C. § 1983 – Due Process/Fair Trial: Fabrication of
    Evidence Against Defendant Donaldson, Defendant Childs, Defendant
    Karvonen, Defendant Mueller, Defendant Love, Defendant Chisholm,
                        and Defendant Dembinski

      127. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.


                                          19
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.20 Filed 09/03/21 Page 20 of 27




      128. The above-named individual Defendants knowingly fabricated

evidence that was used against Larry Smith at his criminal trial.

      129. The evidence fabricated by the above-named individual Defendants

affected the decision of the jury which convicted Larry Smith.

      130. The above-named individual Defendants acted under color of law.

      131. The fabrication of evidence by the above-named individual Defendants

resulted in damages and injuries to Larry Smith.

      132. The fabrication of evidence against Larry Smith was undertaken

pursuant to Defendant County’s policy and/or custom of the WCPO obtaining false

statements and false testimony for use against criminal defendants, as set forth

above.

  COUNT III: 42 U.S.C. § 1983 – Malicious Prosecution Against Defendant
  Donaldson, Defendant Childs, Defendant Karvonen, Defendant Mueller,
     Defendant Love, Defendant Chisholm, and Defendant Dembinski

      133. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      134. A criminal proceeding was initiated against Larry Smith and the

above-named individual Defendants made, influenced, and/or participated in the

decision to prosecute.

      135. There was a lack of probable cause for the criminal prosecution against

Larry Smith.


                                          20
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.21 Filed 09/03/21 Page 21 of 27




      136. As a consequence of the legal proceeding, Larry Smith suffered a

deprivation of liberty apart from the initial seizure.

      137. The criminal proceedings against Larry Smith have been resolved in

Mr. Smith’s favor.

      138. The malicious prosecution by the above-named individual Defendants

resulted in damages and injuries to Larry Smith.

      139. The malicious prosecution of Larry Smith was undertaken pursuant to

Defendant County’s policy and/or custom of the WCPO obtaining false statements

and false testimony for use against criminal defendants, as set forth above.

                 COUNT IV: 42 U.S.C. § 1983 – Conspiracy
    Against Defendant Donaldson, Defendant Childs, Defendant Karvonen,
          Defendant Mueller, Defendant Love, Defendant Chisholm,
                        and Defendant Dembinski

      140. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      141. The above-named individual Defendants had a single plan to convict

Larry Smith for the shooting of Hayes.

      142. The above-named individual Defendants shared a conspiratorial

objective to deprive Larry Smith of his constitutional rights.

      143. The above-named individual Defendants committed overt acts in

furtherance of the conspiracy.

      144. The above-named individual Defendants acted under color of law.
                                           21
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.22 Filed 09/03/21 Page 22 of 27




      145. The conspiracy to deprive Larry Smith of his constitutional rights

resulted in damages and injuries to Mr. Smith.

      146. The conspiracy to deprive Larry Smith of his constitutional rights was

undertaken pursuant to Defendant County’s policy and/or custom of the WCPO

obtaining false statements and false testimony for use against criminal defendants,

as set forth above.

             COUNT V: 42 U.S.C. § 1983 – Failure to Intervene
    Against Defendant Donaldson, Defendant Childs, Defendant Karvonen,
          Defendant Mueller, Defendant Love, Defendant Chisholm,
                        and Defendant Dembinski

      147. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      148. As set forth above, the above-named individual Defendants unlawfully

detained Larry Smith pursuant to legal process, used fabricated evidence against

Mr. Smith, and maliciously prosecuted Mr. Smith.

      149. Each above-named individual Defendant observed and/or had reason to

know that Larry Smith was unlawfully detained pursuant to legal process, had

fabricated evidence used against him, and was maliciously prosecuted.

      150. Each above-named individual Defendant had an opportunity to

intervene in the unlawful detention of Larry Smith, the use of fabricated evidence

against Mr. Smith, and the malicious prosecution of Mr. Smith.



                                          22
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.23 Filed 09/03/21 Page 23 of 27




      151. Each above-named individual Defendant failed to intervene in the

unlawful detention of Larry Smith, the use of fabricated evidence against Mr.

Smith, and the malicious prosecution of Mr. Smith.

      152. Each above-named individual Defendant acted under color of law.

      153. The failure to intervene in the constitutional violations suffered by

Larry Smith resulted in damages and injuries to Mr. Smith.

      154. The failure to intervene in the constitutional violations suffered by

Larry Smith was undertaken pursuant to Defendant County’s policy and/or custom

of the WCPO obtaining false statements and false testimony for use against

criminal defendants, as set forth above.

COUNT VI: 42 U.S.C. § 1983 – Policy and/or Custom of the WCPO Obtaining
 False Statements and False Testimony For Use Against Criminal Defendants
                         Against Defendant County

      155. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      156. As set forth above, the above-named individual Defendants unlawfully

detained Larry Smith pursuant to legal process, used fabricated evidence against

Mr. Smith, and maliciously prosecuted Mr. Smith.

      157. As set forth above, Defendant County had/has a policy of the WCPO

obtaining false statements and false testimony for use against criminal defendants.




                                           23
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.24 Filed 09/03/21 Page 24 of 27




      158. As set forth above, Defendant County had/has a custom of tolerance

and/or acquiescence of the WCPO obtaining false statements and false testimony

for use against criminal defendants.

      159. Defendant County made a deliberate choice to have a policy and/or

custom of the WCPO obtaining false statements and false testimony for use against

criminal defendants.

      160. Defendant County’s policy and/or custom of the WCPO obtaining

false statements and false testimony for use against criminal defendants was the

moving force behind the unlawful detention of Larry Smith, the use of fabricated

evidence against Mr. Smith, and the malicious prosecution of Mr. Smith.

      161. Defendant County’s policy and/or custom of the WCPO obtaining

false statements and false testimony for use against criminal defendants caused the

unlawful detention of Larry Smith, the use of fabricated evidence against Mr.

Smith, and the malicious prosecution of Mr. Smith.

      162. Defendant County’s policy and/or custom of the WCPO obtaining

false statements and false testimony for use against criminal defendants resulted in

damages and injuries to Larry Smith.




                                         24
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.25 Filed 09/03/21 Page 25 of 27




         COUNT VII: Michigan State Law – Malicious Prosecution
    Against Defendant Donaldson, Defendant Childs, Defendant Karvonen,
          Defendant Mueller, Defendant Love, Defendant Chisholm,
                        and Defendant Dembinski

      163. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      164. The above-named individual Defendants caused, initiated, instituted,

and/or continued a criminal prosecution against Larry Smith.

      165. The criminal proceedings against Larry Smith terminated in Mr.

Smith’s favor.

      166. There was no probable cause for causing, initiating, instituting, and/or

continuing the criminal prosecution and/or proceeding against Larry Smith.

      167. The above-named individual Defendants caused, initiated, instituted,

and/or continued the criminal prosecution and/or proceeding against Larry Smith

with malice and/or a purpose other than that of bringing Mr. Smith to justice.

      168. Larry Smith suffered a deprivation of liberty as a result of the criminal

prosecution and/or proceeding.

      169. Larry Smith suffered a special injury in the form of a seizure of his

person.

      170. The above-named individual Defendants are liable to Larry Smith for

treble damages pursuant to Michigan Compiled Laws Annotated 600.2907.



                                          25
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.26 Filed 09/03/21 Page 26 of 27




            COUNT VIII: Michigan State Law – Abuse of Process
    Against Defendant Donaldson, Defendant Childs, Defendant Karvonen,
          Defendant Mueller, Defendant Love, Defendant Chisholm,
                        and Defendant Dembinski

      171. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      172. The above-named individual Defendants acted with an ulterior purpose

in the criminal prosecution and/or proceeding against Larry Smith.

      173. The above-named individual Defendants acted improperly and/or

irregularly in the use of process during the criminal prosecution and/or proceeding

against Larry Smith.

      174. The above-named individual Defendants’ abuse of process resulted in

damages and injuries to Larry Smith.

    COUNT IX: Michigan State Law – Intentional Infliction of Emotional
     Distress Against Defendant Donaldson, Defendant Childs, Defendant
    Karvonen, Defendant Mueller, Defendant Love, Defendant Chisholm,
                          and Defendant Dembinski

      175. Larry Smith hereby re-alleges and incorporates by reference each of

the preceding paragraphs as if fully restated herein.

      176. The above-named individual Defendants engaged in extreme and

outrageous conduct.

      177. The above-named individual Defendants acted with intent and/or

recklessness.


                                          26
Case 2:21-cv-12070-DML-APP ECF No. 1, PageID.27 Filed 09/03/21 Page 27 of 27




      178. The above-named individual Defendants’ conduct caused severe

emotional distress to Larry Smith.

      Wherefore the Plaintiff, Larry Smith respectfully requests that the Court enter

judgment in his favor and against Defendants, County of Wayne, Robert J.

Donaldson, Monica Childs, Gene Karvonen, Roger Mueller, Walter Love, Keith

Chisholm, and John Dembinski, awarding compensatory damages, costs, and

attorneys’ fees against each Defendant, along with punitive damages against each of

the individual Defendants, injunctive and equitable relief against Defendant, County

of Wayne, as well as any other relief the Court deems appropriate.




Respectfully Submitted,
Larry Smith

s/Jarrett Adams
THE LAW OFFICE OF JARRETT ADAMS, PLLC
40 Fulton Street, Floor 7
New York, NY 10038
T: & F: (646) 880-9707
E: JAdams@JarrettAdamsLaw.com
New York State Bar Number 5455712




                                        27
